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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF KENTUCKY
                      NORTHERN DIVISION AT COVINGTON


 CIVIL ACTION NO. 2:20cv054 (WOB-CJS)


 THEODORE JOSEPH ROBERTS,
 ET AL.                                                         PLAINTIFFS

 VS.                           PRELIMINARY INJUNCTION

 HON. ROBERT NEACE,
 ET AL.                                                         DEFENDANTS


       Pursuant    to    the    Memorandum   Opinion     and    Order   entered

 concurrently herewith, which declares unconstitutional the Travel

 Ban promulgated by The Honorable Andrew Beshear, Governor of the

 Commonwealth     of    Kentucky,   in   conjunction     with    the    COVID-19

 emergency,

       The Court hereby PRELIMINARILY RESTRAINS AND ENJOINS The

 Honorable Andrew Beshear, Governor of the Commonwealth of Kentucky

 and all other persons in active concert or participation with him,

 from enforcing Executive Order 2020-258 and Executive Order 2020-

 266, paragraphs 8-9, pending further Order of the Court.

       This 4th day of May 2020.
